Case 2:18-cV-09531-DDP-.]EI\/| Document 16-4 Filed 11/15/18 Page 1 of 2 Page |D #:98

EXhibit

Case 2:18-cV-09531-DDP-.]EI\/| Document 16-4 Filed 11/15/18 Page 2 of 2 Page |D #:99

 

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Thank you for contacting United Teachers Los Angeles regarding your membership.

We encourage you to take this opportunity to consider the challenges we face as educators in
today’s environment. Our work has become more urgent under the new LAUSD
superintendent, Austin Beutner. One of his first actions in office has been the release of the
fundamentally flawed "Hard Choices" report that blames teacher pay, pensions, and healthcare
for LAUSD's financial problems The report ignores the real culprits: LAUSD`s unwillingless to
spend the $l .7 billion projected reserve, Califomia’s drastically low per-pupil funding, the
federal shortfall in special education funding, and the unregulated charter growth that drains
nearly $60() million from LA schools every year.

The stakes are higher than ever to ensure our collective voice stays strong. The UTLA ALL
ln membership is what will protect us-our healthcare, our secure retirement, our ability to
advocate for our students- from the Janus v. AFSCME Supreme court ruling.

Our records indicate that you signed a UTLA ALL IN Membership Card on 2/13/13 (see
attached copy) where you agreed - irrespective of union membership - to pay monthly dues
unless you provide written notice by U.S. mail to UTLA during the open period not less than
thirty (30) days and not more than sixty (60) days before the annual anniversary date of the
agreement (i.e.. of your signature date). Your agreement to maintain dues payments is
automatically renewed from year to year unless you revoke it in writing during the open period.

UTLA will only honor requests to terminate annual dues payments during the open period
specified above upon written notice via U.S. Mail to: UTLA, 3303 Wilshire Blvd., 10th Floor.
Los Angelcs CA 90010, Attn: Memhership Dept. With your request please include your name-
employee number, original signature, and reason for your request (optional).

You can terminate your membership and b `
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must continue to pay dues until it is revoked in w y g ). d

'Tillng during the open period specified above. ll`

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LTLA_ “ me a “CS Pa)lns NOn Member. please submit a written notice by U.S. mall to

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